         Case 1:23-cr-10159-IT Document 145 Filed 10/29/24 Page 1 of 2




                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA

    v.                                     CRIMINAL No.23-10159-IT

JACK DOUGLAS TEIXEIRA,                     FILED IN CAMERA
                                           AND UNDER SEAL
     Defendant



CLASSIFIED SUPPLEMENT TO GOVERNMENT’S POSITION ON SENTENCING




                                    Respectfully submitted,

                                    JOSHUA S. LEVY
                                    Acting United States Attorney

                              By:   /s/ Jason A. Casey
                                    NADINE PELLEGRINI
                                    JARED C. DOLAN
                                    JASON A. CASEY
                                    Assistant United States Attorneys

                                    MATTHEW G. OLSEN
                                    Assistant Attorney General

                                    /s/ Christina A. Clark
                                    CHRISTINA A. CLARK
                                    Trial Attorney
                                    National Security Division
          Case 1:23-cr-10159-IT Document 145 Filed 10/29/24 Page 2 of 2




                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF) and paper
copies will be sent to those indicated as non-registered participants .

                                              /s/ Christina A. Clark
                                              CHRISTINA A. CLARK
                                              Trial Attorney




Date: October 29, 2024




                                                 2
